            Case 1:21-cv-00920-APM Document 41 Filed 07/13/23 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MICHAELA SMITH,                                )
                                               )
                Plaintiff,                     )
                                               )
       v.                                      )       Case No. 21-CV-00920 (APM)
                                               )
                                               )
HOWARD UNIVERSITY                              )
                                               )
                Defendant.                     )
__________________________________________________________________________________

                                              ORDER

       Upon consideration of the parties’ joint motion for leave to file under seal their respective

summary judgment briefs, and supporting papers, and for a seven-day delay in public filing

public versions, the entire record, and for good cause shown;

       IT IS HEREBY ORDERED

       1.       That the parties’ motion is GRANTED.

       2.       That Defendant and Plaintiff are granted leave to file under seal their respective

briefs on their forthcoming motions for summary judgment, as well as supporting papers

including fact statements and exhibits.

       3.       That Defendant and Plaintiffs shall not be required to file public versions of their

sealed summary judgment papers until seven (7) days after the sealed versions are filed.

                                               SO ORDERED this ____ day of __________, 2023:
                                                                  2023.07.13
                                                                  09:13:26 -04'00'
                                               _______________________________
                                               Honorable Amit P. Mehta
                                               U.S. District Judge
